Case 1:23-cv-00124-TBM-BWR Document 2-4 Filed 05/18/23 Page 1 of




                                      2022-2023
                           Secondary Student Handbook




                        HARRISON COUNTY SCHOOL DISTRICT




                              MISSION STATEMENT

        Harrison County School District is committed to providing a healthy,
        safe, and caring learning environment that is dedicated to quality
        instruction. Through high expectations and academic excellence,
        students will be productive citizens, empowered leaders, and lifelong
        learners.



                                         1
Case 1:23-cv-00124-TBM-BWR Document 2-4 Filed 05/18/23 Page 2 of
            immediate supervisor of the individual toward whom the grievance is directed. The
            grievance process will then follow the steps as outlined.
        C. The aggrieved person, teacher, or school personnel may request a conference
            prior to the time a decision is rendered.
        D. The teacher or school personnel shall render a written decision to the aggrieved
            within five (5) days after receipt of the grievance.
        Step 2
        A. If the aggrieved is not satisfied at Step one (1), he/she may within five (5) days,
            notify in writing, his/her teacher or school personnel of his/her intent to appeal to
            the appropriate authority.
        B. The aggrieved student shall appeal to the principal. The aggrieved shall include
            copies of all correspondence from Step One (1).
        C. The aggrieved person or principal may request a conference prior to the time a
            decision is rendered.
        D. The principal shall render a written decision to the aggrieved within five days after
            receipt of the appeal.
        Step 3
        A. If the aggrieved is not satisfied at Step Two (2), he/she may within five (5) days
            notify in writing the principal of his/her intent to appeal to the appropriate central
            office administrator.
        B. The aggrieved person shall present his/her appeal in writing to the central office
            administrator and shall include copies of all correspondence from Steps One (1)
            and Two (2).
        C. The aggrieved person or the central office administrator may request a conference
            prior to the time a decision is rendered.
        D. The central office administrator shall render a written decision within ten (10) days
            after receipt of the appeal.
        Step 4
        A. If the aggrieved is not satisfied at Step Three (3), he/she may submit his/her
            appeal in writing to the Superintendent of Education and shall include copies of all
            correspondence from Steps One (1), Two (2), and Three (3).
        B. The aggrieved student or Superintendent may request a conference prior to the
            time a decision is rendered.
        C. The Superintendent shall render a decision to the aggrieved student within twenty
            (20) days after receipt of the appeal.

        EMPLOYEE/STUDENT/or OTHER THIRD-PARTY INJURY
        HCSD teachers or employees injured as a result of the actions of a student/parent or
        other third party under the state law workers compensation carrier can exercise their
        right to seek reimbursement. State Statute as it relates to MS Code §71-3-71
        'Compensation for injuries where third parties are liable',

        HARRISON COUNTY SCHOOL SYSTEM DRESS CODE
        It is not the intention of the Harrison County School District to overly restrict the
        freedom of dress of the individual students attending the schools within the system, nor
        is it our intention to dictate policies, which may seem to be overly restrictive according
        to contemporary standards. It is, however, our duty and our objective to see that
        students attending the schools in the Harrison County School District are well groomed,
        particularly as to their physical appearance, and that their choice of dress and their
        style is not so different from the majority of the students so as to represent an individual
        or collective protest.

        The Harrison County School Board, therefore, in cooperation with the Superintendent
        of Education and after consultation with parents, students, and teachers within the
        system, presents the following policy regarding student dress:

                                                    54
Case 1:23-cv-00124-TBM-BWR Document 2-4 Filed 05/18/23 Page 3 of
             a.     Student dress in the Harrison County School District must conform to the
                   principles of (1) good health and safety, (2) high moral standards, and (3)
                   consistency with the instructional process.
            b. Students at school and those representing the school away on trips or in the
                   local community shall dress appropriately for the occasion and in keeping
                   with the above stated principles.
        Specifically:
        1. None of the following will be allowed: trench coats, pajamas, half-shirts, halter-
            tops, low cut/revealing shirts (clothing must not expose the midriff including with
            arms raised), inappropriate dresses, house slippers, fish net stockings, and shirts
            advertising alcoholic beverages or tobacco, or those with obscene, offensive or
            questionable printing on them.
        2. Shorts, skirts, dresses above mid-thigh length are not allowed.
        3. Jeans/pants and shorts with holes that show skin or undergarments above mid-
            thigh length are not allowed.
        4. Running shorts, short-shorts, gym-type shorts, and bicycle/spandex pants/shorts
            are not allowed.
        5. No see-through pants allowed. No sagging pants allowed No pants worn below
            the waist showing underwear beneath the main outerwear. Pants should stay up
            without assistance. If you have to hold the waistband while walking to keep your
            pants on, your pants do not fit.
        6. Appropriate undergarments are to be worn and covered at all times.
        7. Hats, head coverings, sunglasses, or gloves are not permitted to be worn inside
            the buildings.
        8. Clothing without sleeves may be worn provided they fit snugly under the arms, are
            not cut low in the front or back, are not made of mesh or see-through material,
            and have shoulder straps of reasonable width.
        9. Bandanas of any kind, are not permitted to be worn on campus
        10. Dog collars or similar type ornaments shall not be worn about the neck.
        11. Items of clothing/jewelry that contain a skull-and-crossbones are not permitted.
        12. The tops worn with leggings/meggings/jeggings must be longer than mid-thigh in
            length. Shirts and tops worn with leggings/meggings/jeggings must go past the
            buttocks. High/low shirts may not be worn with leggings/meggings/jeggings.
        13. Students will not be allowed to wear clothing, caps, hats, or bags that advertise or
            promote groups, fraternities, sororities, outside clubs, political representation, or
            organizations not associated or approved by the Harrison County School Board.
        14. Extremely tight-fitting or short clothing will not be allowed.
        15. Clothing must not expose the midriff (with arms raised). Halter-tops and strapless
            (tube-type) dresses and tops are prohibited.
        16. See-through clothing will not be allowed.
        17. Chain(s) or other objects that may be used as a weapon (including wallet chains)
            are not permitted.
        18. Earrings must be worn in earlobes only. For student safety, no other body
            piercing with rings or other jewelry is permitted. No tongue studs will be allowed.
        19. Inappropriate application of make-up or hairstyle that creates a distraction or
            appears to be costume in nature is not permitted.
        20. Tattoos deemed to be inappropriate by the administration must be covered.
        21. Blankets/throws are not allowed.
        22. Shoes with built in wheels are not permitted.
        23. Students not complying with the dress code may be sent home unexcused.

        BOOK BAGS
        All book bags, backpacks, backpack purses, briefcases, etc. are prohibited unless
        made of clear plastic or see-through mesh. All athletic bags will be housed in
        designated areas of the school.

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